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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )          CASE NO. 2:09-cr-136-MEF
                                           )
ANGELA MARIE DAVIS                         )

                                     ORDER

      Upon consideration of the government's Motion to Dismiss Indictment as to

Defendant, Angela Marie Davis (Doc. #41) filed on January 29, 2010, it is hereby

      ORDERED that the motion is GRANTED and the indictment against Angela Marie

Davis is dismissed.

      DONE this the 1st day of February, 2010.


                                                /s/ Mark E. Fuller
                                        CHIEF UNITED STATES DISTRICT JUDGE
